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FOR THE DISTRICT OF COLUMBIA

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IN THE UNITED STATES DISTRICT COURT ( JHm
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UNITED STATES OF AMERICA

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Case No.: 1:21-cr-00107-RDM-1

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BRUNO JOSEPH CUA

DEFENDANT'S MOTION FOR REFUND OF
FEES AND RESTITUTION

COMES NOW, Bruno Joseph Cua (Movant); ! proceeding Pro Se, to enter this
Request for a Refund of payments made to this Court based on an invalidated
set of convictions in the above-styled case; pursuant to the Fifth Amendment's

nN Ds , TDs aA Owns
Due Process Clause and the First Amendment's Right to Redress cf Cricvance

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Procedural Background:.

Previously, Movant was convicted of two counts in this Court. One count was
invalidated by the Supreme Court's holding in Fischer v United States, 603 US
480 (2024) (obstructing an official proceeding); and the other was both par-
doned by President Trump on January 20, 2025, and was subsequently vacated
and dismissed by Order of the United States Court of Appeals for the District
of Columbia - see United States v Cua, No. 23-3137 (D.C.App. Feb. 27, 2025).

Since that time, Movant has requested a refund of his monies from the Clerk
of Court for the District of Columbia (see Exhibit 1), and was denied.

This motion follows.

II. The Instant Request Is Distinguishable From Knote v US, 96 US 149(1877)
The Clerk of Court responded tc Movant's refund request by stating that it
is barred by the doctrine set forth by the Supreme Court in Knote v United
States, 95 US 149 (1877). This case, however, dealt with a pardoned civil war
soldier who sought the return of real estate, rather than money, which was
confiscated under a specific Act of Congress, and then sold to a third party.

.-importantly, Knote initiated a separate lawsuit claiming entitlement, and

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did so after the two-year statute of limitations had run out for recovering

monies under Commonlaw Tort process. The Supreme Court noted in Knote that

1868 pardon would have entitled him to it." McRae v Califano, 491 F.Supp.
630, 729 (EDNY Jan 15, 1980) (citing to Knote and summarizing the result in

modern language).

As such, Knote is distinguishable in two ways: 1) Movant is not attempting
to recover real estate; and 2) He is not attempting to recover money from
the US Treasury which was deposited through the sale of forfieted assets
after the statute of limitations has expired.

There is, instead, a more applicable Supreme Court holding, discussed Infra.
III. This Case Is More Like Nelson v Colorado, 851 US 1282(¢2017)

Here. as in Nelson v Colorado, 581 US 128¢2017).,Movant has been completely
exonorated through judicial proceedings. And, the State ‘may not presume a
person, adjudged guilty of no crime, nonetheless guilty enough for monetary
exactions - and therefore Movant is due a refund of his money. In Nelson,
defendants whose convictions were reversed or vacated sought refunds of
restitution, fees, and costs exacted from them by the state as a consequence
of their convictions - Nelson, 581 US at 131. After their convictions were
invalidated, the defendants moved for refunds of the amounts they had paid-
Nelson. 581 US at 132. The Supreme Court determined that once the defendants'
(as is the case here) "convictions were erased, the presumption of their: 7:2:
innocence was restored," and the State had no interest (again, as is the case
here) in retaining funds taken from them solely because of their invalidated
convicitons - Nelson, 581 US at 135-36; and that the State "may not impose
anything more than minimal procedures on the refund of exactions dependant
upon a conviction subsequently invalidated." - Nelson, 581 US at 137, 139.

As Movant's convictions have been overturned, vacated, and dismissed -
he toc is due the presumption of actual innocence as it pertains to the
State's ability to claim an interest in the monies taken from him. As no
statute of limitation bar has attached at this time, he is therefore due
to be refunded his money, totalling $2,200, through a filing in his criminal
case - Nelson, 581 US ati28.

And to be sure, Movant here has the addedbonus of a Presidential Pardon.

This Pardon is merely the "icing on the cake" though - as his convictions
have also been overturned on appeal.
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As such, Nelson provides that the instant filing is the vehicle to relief,
and that. this Court is the proper venue for same.

Accordingly, Movant is due a refund of his money ... and this refund extends
to all monies paid into the Bureau of Prisons' ceffers as a result of these
now invalidated convictions, as those monies were "exactions" just as much as

the Court ordered fees and restitution.

CONCLUSION

This Court, nor the United States, have any valid claim to the money that
Movant has paid to any governmental entity as a result of his now invalid
convictions. He is due access to his property interest in the money, and
the Supreme Court has spoken on this very issue previously, resting its de-
termination on the Constitutional Rights of Due Process (14th and 5th Amend-
ment) and Redress of Grievance (ist Amendment). For these reasons, I Bruno
Joseph Cua, hereby request the refund of all monies exacted from me as a
result of my two now-invalidated convictions; or any other relief this Court
sees fit to provide.

Respectfully Submitted, this tbe day of Apc | , 2025.

Gare Pago

Bruno Joseph Cua
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Certificate of Service
I, Brune Joseph Cua, hereby certify that the foregoing was mailed via US
Postal Service First Class mail to this Court on Aeril ls+- 5 625 and
ask the Clerk of Court to notify the Respondent of same via the Court's
CM/ECF System.
Respectfully Submitted, this | day of Ae c: | __» 2025

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Bruno Joseph Cua

